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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
|
UNITED STATES OF AMERICA, | Case Number: 8:08-CR-00223-AG-8
Plaintiff(s), |
vs. |
| NOTICE DIRECTING DEFENDANT TO APPEAR
| Defendant. | FOR ARRAIGNMENT ON
| INDICTMENT /INFORMATION
|
|

YOU ARE HEREBY NOTIFIED AND DIRECTED to appear before United States Magistrate Judge Arthur
Nakazato, United States Courthouse located at:

T™ Western Division I~ Southern Division f Eastern Division
255 E. Temple Street 411 W. Fourth Street 3470 Twelfth Street
Courtroom 341, 3rd Floor Courtroom 6B, 6th Floor Courtroom i, Floor
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

at 10:00 AM_on August 3, 2009, at which time you shall be arraigned on the indictment or
information. Upon arraignment, your case will be assigned to a Judge of this Court, before whom you
must be prepared to appear the afternoon of the same day and enter a plea.

If you have retained your own attorney, he or she must be present with you on the date ordered
above. If you do not have an attorney, an attorney will be appointed to represent you at the time,
provided you are without sufficient funds to retain a private attorney.

IF YOU FAIL TO APPEAR AT THE DATE, TIME AND PLACE INDICATED, YOUR PRESENT BOND
WILL BE FORFEITED AND THE COURT WILL ISSUE A WARRANT FOR YOUR ARREST.

NOTE: Your case may be assigned for further proceedings in a division different from the one
indicated above. If so, a notice will be mailed to you and your attorney, therefore, keep in close
contact with your attorney so you will not waste time and effort by going to the wrong location.

Clerk, U.S. District Court

 
  

Filed &07/23/2009 By:Kerri Glover

Magistrate Judge Courtroom D¢puty Clerk

 

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